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 6                        UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,                      No. 1:14-cr-02100-SAB-2
10          Plaintiff,
11          vs.                                   ORDER DISMISSING MOTION
12 EMILY LOUISE HERNANDEZ-                        TO DISMISS APPEAL AS
13 STEPNEY,                                       MOOT
14          Defendant.
15
16          Before the Court is Defendant’s Motion to Dismiss Appeal. ECF No. 100.
17 On February 17, 2016 and March 15, 2016, the Ninth Circuit Court of Appeals
18 directed Defendant to move for voluntary dismissal of her appeal or show cause
19 why it should not be dismissed as untimely. See ECF No. 99. Defendant did not
20 do so. Consequently, on April 19, 2016, the Ninth Circuit Court of Appeals issued
21 a mandate dismissing Defendant’s appeal for failure to prosecute. ECF No. 99.
22 The present motion is untimely and improperly before this Court. The Ninth
23 Circuit Court of Appeals’ mandate dismissed Defendant’s appeal. Therefore,
24 Defendant’s motion to dismiss appeal is denied as moot.
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28 //

     ORDER DISMISSING MOTION TO DISMISS APPEAL AS MOOT + 1
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 1        Accordingly, IT IS HEREBY ORDERED:
 2        1. Defendant’s Motion to Dismiss Appeal, ECF No. 100, is DENIED AS
 3 MOOT.
 4        IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
 5 and forward copies to counsel.
 6        DATED this 16th day of September, 2016.
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12                                                Stanley A. Bastian
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                                              United States District Judge
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     ORDER DISMISSING MOTION TO DISMISS APPEAL AS MOOT + 2
